                                                           Case 21-14486-abl         Doc 253      Entered 10/06/22 09:18:14        Page 1 of 4



                                                       1

                                                       2

                                                       3

                                                       4
                                                       Entered on Docket
                                    5October 06, 2022
                                ___________________________________________________________________
                                                       6
                                                           Bart K. Larsen, Esq.
                                                       7   Nevada Bar No. 8538
                                                           Kyle M. Wyant, Esq.
                                                       8   Nevada Bar No. 14652
                                                           SHEA LARSEN
                                                       9   1731 Village Center Circle, Suite 150
                                                           Las Vegas, Nevada 89134
                                                      10   Telephone: (702) 471-7432
                                                           Fax: (702) 926-9683
                                                      11   Email: blarsen@shea.law
                                                                   kwyant@shea.law
              1731 Village Center Circle, Suite 150




                                                      12
                                                           Attorneys for HASelect-Medical Receivables
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13   Litigation Finance Fund International SP
                        (702) 471-7432




                                                      14                              UNITED STATES BANKRUPTCY COURT

                                                      15                                         DISTRICT OF NEVADA

                                                      16   In re:
                                                                                                                       Case No. 21-14486-abl
                                                      17   INFINITY CAPITAL MANAGEMENT, INC.                           Chapter 7
                                                           dba INFINITY HEALTH CONNECTIONS,
                                                      18
                                                                                   Debtor.                             Hearing Date: October 3, 2022
                                                      19                                                               Hearing Time: 9:30 a.m.

                                                      20   ORDER GRANTING JOINT MOTION TO ENFORCE COURT ORDERS AND REQUIRE
                                                           PREVA ADVANCED SURGICARE – THE WOODLANDS, LLC TO REMIT PAYMENTS
                                                      21
                                                                           RELATING TO ACCOUNTS RECEIVABLE
                                                      22            The Joint Motion to Enforce Court Orders and Require Preva Advanced Surgicare – The
                                                      23   Woodlands LLC to Remit Payments Relating to Accounts Receivable [ECF No. 241] (the “Joint
                                                      24   Motion”) filed jointly by HASelect-Medical Receivables Litigation Finance Fund International SP
                                                      25   (“HASelect”) and Tecumseh–Infinity Medical Receivable Fund, LP, (“Tecumseh”) came on for
                                                      26   hearing before the Court on October 3, 2022. Appearances at the hearing were noted on the record.
                                                      27            All findings of fact and conclusions of law orally stated by the Court at the Oral Ruling are
                                                      28   incorporated herein pursuant to Fed. R. Civ. P. 52, as made applicable to these proceedings via


                                                                                                         Page 1 of 4
                                                           Case 21-14486-abl        Doc 253      Entered 10/06/22 09:18:14        Page 2 of 4



                                                       1
                                                           Fed. R. Bankr. P. 9014(c) and 7052. For the reasons stated by the Court on the record at the
                                                       2
                                                           hearing, there being no opposition to the Motion, and good cause appearing, IT IS HEREBY
                                                       3
                                                           ORDERED:
                                                       4
                                                                   1.     The Joint Motion is GRANTED;
                                                       5
                                                                   2.     Any person or entity, including, but not limited to, Preva Advanced Surgicare –
                                                       6
                                                           The Woodlands, LLC (“Preva”), is hereby ordered and required to immediately turn over all
                                                       7
                                                           proceeds collected on and all payments due in connection with all accounts receivable and other
                                                       8
                                                           rights to payment included in the Portfolio, as defined in the Joint Motion (and as further described
                                                       9
                                                           with respect to Preva in Exhibit 6 attached thereto), to TPL Claims Management, LLC (“TPL”) at
                                                      10
                                                           such location as TPL may instruct;
                                                      11
                                                                   3.     Any person or entity, including, but not limited to, Preva Advanced Surgicare –
              1731 Village Center Circle, Suite 150




                                                      12
                                                           The Woodlands, LLC, is hereby ordered and required to immediately turn over all proceeds
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                           collected on and all payments due in connection with all accounts receivable and other rights to
                                                      14
                                                           payment included in the Collateral, as defined in the Joint Motion (and as further described with
                                                      15
                                                           respect to Preva in Exhibit 5 attached thereto), to HASelect at such location as HASelect may
                                                      16
                                                           instruct;
                                                      17
                                                                   4.     Within 14 days following the entry of this Order and continuing each month
                                                      18
                                                           thereafter for so long as any portion of the Preva Accounts (as defined in the Joint Motion) remain
                                                      19
                                                           uncollected, Preva Advanced Surgicare – The Woodlands, LLC shall provide to Tecumseh and
                                                      20
                                                           HASelect (or their respective designees) an accounting of the current status of all Preva Accounts
                                                      21
                                                           consistent with Preva’s monthly reporting obligations to Infinity under section 6 of the Purchase
                                                      22
                                                           and Sale Agreement attached to the Joint Motion as Exhibit 4.
                                                      23
                                                                   5.     TPL is hereby authorized and empowered to take commercially reasonable actions,
                                                      24
                                                           subject to and as allowed under its agreements with HASelect and Tecumseh, to effectuate the
                                                      25
                                                           servicing and collection of the Portfolio and to hold the proceeds of the Portfolio in escrow pending
                                                      26
                                                           the final resolution of all claims and counterclaims asserted in this Adversary Proceeding as
                                                      27
                                                           contemplated under such agreements;
                                                      28


                                                                                                        Page 2 of 4
                                                           Case 21-14486-abl       Doc 253     Entered 10/06/22 09:18:14        Page 3 of 4



                                                       1
                                                                    6.   TPL shall be authorized to endorse and negotiate any check remitted in payment of
                                                       2
                                                           any of the accounts receivable included in the Portfolio, including any check made payable to the
                                                       3
                                                           Debtor, Infinity Health Connection, Infinity Health Solutions, LLC, or Buena Vista Rx.; and
                                                       4
                                                                    7.   This Court shall retain jurisdiction to interpret and enforce the provisions of this
                                                       5
                                                           Order.
                                                       6
                                                                    IT IS SO ORDERED.
                                                       7

                                                       8

                                                       9

                                                      10
                                                           Respectfully submitted by:
                                                      11
                                                           SHEA LARSEN
              1731 Village Center Circle, Suite 150




                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13   /s/ Bart K. Larsen, Esq.
                        (702) 471-7432




                                                           Bart K. Larsen, Esq.
                                                      14   Nevada Bar No. 8538
                                                           Kyle M. Wyant, Esq.
                                                      15   Nevada Bar No. 14652
                                                           1731 Village Center Circle, Suite 150
                                                      16   Las Vegas, Nevada 89134

                                                      17   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
                                                      18

                                                      19

                                                      20

                                                      21

                                                      22

                                                      23

                                                      24

                                                      25

                                                      26

                                                      27

                                                      28


                                                                                                      Page 3 of 4
                                                           Case 21-14486-abl       Doc 253      Entered 10/06/22 09:18:14         Page 4 of 4



                                                       1                                      LR 9021 CERTIFICATION

                                                       2          In accordance with LR 9021, counsel submitting this document certifies that the order
                                                           accurately reflects the court’s ruling and that (check one):
                                                       3

                                                       4          ☐      The court has waived the requirement set forth in LR 9021(b)(1).

                                                       5          ☐      No party appeared at the hearing or filed an objection to the motion.
                                                       6
                                                                  ☒      I have delivered a copy of this proposed order to all counsel who appeared at the
                                                       7                 hearing, and any unrepresented parties who appeared at the hearing, and each has
                                                                         approved or disapproved the order, or failed to respond, as indicated below [list
                                                       8                 each party and whether the party has approved, disapproved, or failed to respond to
                                                                         the document]:
                                                       9

                                                      10     Name                                         Approve              Reject          No Response

                                                      11     Michael D. Napoli, Esq.                          ☒                  ☐                  ☐
                                                             Attorney for Tecumseh – Infinity
              1731 Village Center Circle, Suite 150




                                                      12     Medical Receivables Fund, L.P.
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                      14          ☐      I certify that this is a case under chapter 7 or 13, that I have served a copy of this
                                                                         order with the motion pursuant to LR 9014(g), and that no party has objected to the
                                                      15                 form or content of the order.
                                                      16
                                                                  I declare under penalty of perjury that the foregoing is true and correct.
                                                      17
                                                                                                        /s/ Bart K. Larsen, Esq.
                                                      18                                                Bart K. Larsen, Esq.
                                                      19

                                                      20

                                                      21

                                                      22

                                                      23

                                                      24

                                                      25

                                                      26

                                                      27

                                                      28


                                                                                                       Page 4 of 4
